        Case 4:22-cv-00136-TWP-KMB Document 5 Filed 10/19/22 Page 1 of 1 PageID #: 31
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


      AMERICAN COMMERCIAL BARGE LINE LLC                       )
                             Plaintiff                         )
                                v.                             )      Case No.     4:22-CV-00136-TWP-DML
                IWC OIL & REFINERY, LLC                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          American Commercial Barge Line LLC                                                                            .


Date:          10/19/2022
                                                                                         Attorney’s signature


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